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EXHIBIT 3
FILED UNDER SEAL
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Google LLC v. Sonos, Inc., Case No. 3:20-cv-6754
Rebuttal Expert Report of W. Christopher Bakewell

Exhibit 1.0 (Updated as of January 30, 2023 to incorporate Mr. Malackowski's revised calculations)
Summary Of Baseline Royalty Data Points

Category ‘033 Patent ‘885 Patent ‘966 Patent

[ro Malackowski's Updated {5173.7 million to $278.1 million [812.2 million] 877.5 million]

"Quantitative Indicators" ©”

Income Approach: * Lack of significant demand * Lack of significant demand * Lack of significant demand
« Mr. Malackowski's theories are « Mr. Malackowski's theories adjusted: * Double counts with ‘885 patent
unreliable. up to/$1.2 million
* Mr. Malackowski's theories adjusted:
¢ Mr. Malackowski's theories are up to[$7.4 million
unreliable.
¢ Mr. Malackowski's theories are
unreliable.
Cost Approach: © * NIAAI: less thanf5 on « NIABI: less than 200,00 * NIABI: less than {$200,000

NIA Bz2: less than $200,000

NIA B2: less than 200,00

NIA A2: less

Market Approach: “ ¢ Lump sum; show a lack of « Lump sum; discrediting of app « Lump sum; discrediting of app
apportionment; discrediting of app “quantitative indicators” "quantitative indicators”
"quantitative indicators"
Mr. Malackowski's Updated NIA: Less than $2.6 million| NIA: Less than [5200,000) NIA: Less than 5200,000,
"Indicators," Adjusted (Baseline
Royalties) ©.) Other: Mr. Malackowski's theory remains Other: Mr. Malackowski's theory remains Other: Mr. Malackowski's theory remains
unreliable, despite his adjustments. unreliable. One adjustment yields less unreliable, despite his adjustments. One
Of hr. Melachrone ery vldere than B12 milliod adjustment yields less than 74 milion)
Others show insignificant value. Others show insignificant value.
{if Mr, i's theory is i ) Gf Mr. i's theory is i )

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Google LLC v. Sonos, Inc., Case No. 3:20-cv-6754
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Exhibit 1.0 (Updated as of January 30, 2023 to incorporate Mr. Malackowski's revised calculations)
Summary Of Baseline Royalty Data Points

Notes and Sources:

(Ir) See discussion in Bakewell Rebuttal Expert Report, Section 4 and Section 8; Malackowski Reply Report, pp. 7-8, 19, 21. Mr. Malackowski revised his royalty estimates from [$214.5 million]
to for the '033 patent, and from Biase million] to 677.5 million for the '966 patent, which necessitates revisions to some of my calculations (to the extent that Mr.
Malackowski relies on these revised estimates instead of his prior estimates). But Mr. Malackowski did not correct other errors, including the impact of devices in service. This further
demonstrates the lack of reliability of his theories.

(2r) See discussion in Bakewell Rebuttal Expert Report, Section 5 and Section 8. Updated to reflect Mr. Malackowski's reply report, where he adopted some but not all of the issues identified in
my report.

(3) See discussion in Bakewell Rebuttal Expert Report, Section 6 and Section 8.

(4) See discussion in Bakewell Rebuttal Report, Section 7 and Section 8.

(5) See discussion in Bakewell Rebuttal Expert Report, Section 5 and Section 8.

(6r) Mr. Malackowski's reply report highlights that his theory is unreliable and cannot be corrected as adjusted. See pp. 5-6 where he stated "for the Direct Control Patent, [his] primary
scenario begins with U.S. mobile advertising and subscription revenue" and p. 18 where he says "while the U.S. revenue figures remain unchanged, the amount attributable to the "033
Patent, as indicated by the MDx playback time share, reduces the infringing revenue. As seen in the figure below, I still calculate $17.7 billionl:n U.S. YouTube mobile advertising
and subscription revenue..." Mr. Malackowski has not shown any relationship, and particularly a 1:1 relationship, between the '033 patent and the revenue stream he uses. Again, Mr.
Malackowski's calculations are unreliable and cannot be corrected.

(7r) As Mr. Malackowski has done in his reply report, I reserve the right to update my trial demonstratives for his revised calculations.

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Google LLC v. Sonos, Inc., Case No. 3:20-cv-6754
Rebuttal Expert Report of W. Christopher Bakewell

Exhibit 4.0 (Updated as of January 30, 2023 to incorporate Mr. Malach

ski's revised.

Illustration Of Adjustments To Mr. Malackowski's Royalty Estimates ('885 And '966 Patents) a

November 5, 2019 - November 15, 2022

ions)

Adjusted Royalty Theories

‘885 Patent ‘966 Patent
(11/24/2020 - 9/30 2022) (11/5/2019 - 11/15/2022) Total

|Mr, Malackowski's estimates [A] $12,246,294 @ $77,546,923 © $89,793,217 |
Less: Adjustment for prior art [B] ($12,246,294) ($77,546,923) ($89,793,217)

[C] = [B] /[A] -100.0% -100.0% -100.0%
Less: Adjustment for unlimited applets [D] ($12,246,294) ($77,546,923) ($89,793,217)

[E] = [D]/[A] -100.0% -100.0% -100.0%
Less: Adjustment for “Pro” offered at “no cost” in November 2019 [F] - ($77,546,923) ($77,546,923)

[G] = [F] /[A] -100.0% -86.4%
>>Adjustment for for grouping usage [H] = [A] x [1] ($11,082,077) ($70,191,584) (81,273,662)

-90.5% © -90.5% & -90.5% ©

|Mr. Malackowski’s estimates, as adjusted (rows noted with >>) a [J] = [A] + [H] $1,164,217 $7,355,339 © $8,519,555 |

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Rebuttal Expert Report of W. Christopher Bakewell

Exhibit 4.0 (Updated as of January 30, 2023 to incorporate Mr. Malackowski's revised calculations)

Illustration Of Adjustments To Mr. Malackowski's Royalty Estimates ('885 And '966 Patents) a
November 5, 2019 - November 15, 2022

Notes and Sources:

(1) See discussion in Bakewell Rebuttal Expert Report, Section 4, Section 5.3 and Section 8.

(2) See Malackowski Supplemental Report, p. 10.

(3r) See Malackowski Reply Report, p. 8; Exhibit 4.2 to Bakewell Rebuttal Expert Report.

(4) See Exhibit 4.1.

(5) These adjustments do not fix Mr. Malackowski's work due to systemic issues in his work.

(6) Calculated as: (Google Home Install Events) x 80.0778 (Mr. Malackowski's adjusted "royalty rate" for the '966 patent) = approximately [67.4 million
See Exhibit 4.13; Exhibit 4.2.

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